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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                            Hon. Janet T. Neff
 v.
                                                            Case No. 1:18-cr-00140
 TEYON ROSSER-BURCH,

       Defendant.
 ________________________________/

                       REPORT AND RECOMMENDATION


        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on September 18, 2018, after receiving the written consent of

defendant and all counsel. There is no written plea agreement. At the hearing,

defendant Teyon Rosser-Burch entered a plea of guilty to Counts 1, 6, 7, and 9 of the

Second Superseding Indictment.      Count 1 charges defendant with conspiracy to

distribute and possess with intent to distribute controlled substances, in violation of

21 U.S.C. §§ 846 and 841; Count 6 charges defendant with possession with intent to

distribute heroin, in violation of 21 U.S.C. § 841; Count 7 charges defendant with

distribution of fentanyl, in violation of 21 U.S.C. § 841; and Count 9 charges

defendant with felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1).

On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made
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voluntarily and free from any force, threats, or promises; that the defendant

understands the nature of the charge and penalties provided by law; and that the

plea has a sufficient basis in fact.

       Accordingly, I recommend that defendant's plea of guilty to Counts 1, 6, 7, and

9 be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the

district judge.


Date: September 18, 2018                       /s/ Phillip J. Green__________
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge


                                NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district
judge. Any application for review must be in writing, must specify the portions of the
findings or proceedings objected to, and must be filed and served no later than14 days
after the plea hearing. See W.D. MICH. L.CR.R. 11.1(d).




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